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                      IN THE UNITED STATES DISTRICT COURT
                        THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION
       UNITED STATES OF AMERICA               §
                                              §
               v.                             §          CRIMINAL NO. 20-CR-00047-RP (3)
                                              §
       CORY PATTON                            §
            Defendant                         §

                           UNOPPOSED MOTION TO WITHDRAW

TO THE HONORABLE JUDGE PITMAN, UNITED STATES DISTRICT JUDGE FOR
THE WESTERN DISTRICT OF TEXAS:

COMES NOW undersigned counsel and hereby files this Motion to Withdraw as counsel based
on the following:

                                                   I.

Undersigned counsel was appointed to represent Mr. Cory Patton on February 12th, 2021, in the
above-referenced case. Mr. Patton is currently being detained in the McLennan County Jail.

                                                  II.

After receiving discovery on April 19th, 2021, Defendant’s Counsel has discovered a conflict of
interest due to prior representation of an individual related to Defendant’s case.

                                                  III.

Defendant is currently set for docket call on May 13th, 2021, trial on May 24th, 2021, and a plea
in the case is due on May 10th, 2021. On April 13th, 2021 Counsel filed a continuance on behalf
of Defendant seeking a 60-day extension to all pretrial dates to which Counsel received no
objection.

                                                  IV.

Defendant’s Counsel filed a Motion to Compel on this matter that is currently set for hearing on
April 27th, 2021 at 1:30pm. Dkt. 340, Dkt. 356. Counsel was tendered all discovery on the
aforementioned date. In the Government’s response, Counsel is alleged to have been disingenuous
in his pleadings on Defendant’s Motion To Compel. Dkt. 353. Counsel admits to an inadvertent
and unintentional mistake in the language of the pleading, in that Counsel was in communication
with the AUSA’s Office regarding discovery, and issues arose with the timing of its production.
The language was based off a form motion from the Public Defender’s website. Counsel admits
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an error to that respect.

                                                   V.

Counsel has conferred with Mark Marshall the AUSA assigned to the case and received no
objection to the foregoing motion.

                                                  VI.

The interests of justice require that the Court approve the withdrawal of counsel and allow Mr.
Patton to be appointed new counsel, as Counsel cannot ethically proceed with representation due
to the newly surfaced conflict.

                                                 By:/s/ John de la Vina
                                                    John N. de la Vina
                                                    SBN: 24078407
                                                    702 Rio Grande
                                                    Austin, Texas 78701
                                                   512.897.3325 (p)
                                                   512.501.6307 (f)


                                Certificate of Service

        I hereby certify that on the 20th day of April, 2021, I electronically filed the foregoing
Motion with the Clerk of the Court using the CM/ECF system which will send notification to all
registered parties of record, including:

Mark Marshall
Assistant United States Attorney 816 Congress Ave., Ste, 1000 Austin, Texas78701

                        __/s/ John de la Vina____

                            John N. de la Viña
